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                           Case No.: 1:24-cv-00258-KCD



JENNER TORRENCE

    v.                                     NOTICE OF RANDOM ASSIGNMENT
                                           TO:
                                           Judge Kathryn C. Davis
THE UNITED STATES

     Pursuant to Rule 40.1(a), of the Rules of the United States Court of Federal
Claims, this case has been randomly assigned to the above Judge for the conduct of
proceedings pursuant to the rules of this court. Careful consideration and observance
by counsel of the rules of this court and the orders of the assigned judge will enable
the judge and the Clerk of Court to assist counsel in the expeditious disposition of
the case with minimum expense. Counsel's attention is called to Appendix A of the
rules of this court which governs proceedings before trial, and has application in
every case unless an order is entered providing otherwise. For format requirements,
see Rule 5.5. For service and filing requirements, see Rule 5. For electronic case
filing procedures, see Appendix E of the rules of this court.
    Counsel's attention is also called to Appendix H of the rules of this court which
implements a variety of voluntary, non-binding alternative dispute resolution (ADR)
tools for use in appropriate cases. ADR techniques include but are not limited to
mediation, mini-trials, early neutral evaluation, and non-binding arbitration.
    The United States is requested to promptly file written notification of the name,
address and telephone number of assigned counsel in accordance with Rule
83.1(c)(3).
   Pursuant to Rule 5.5(g): “In all filings other than the complaint, the name of the
judge assigned to the case must be included directly below the docket number.”
